         Case 1:21-cr-00028-APM Document 866 Filed 02/07/23 Page 1 of 3




IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                      Dun & Bradstreet # 611934746


UNITED STATES OF AMERICA
(Delaware file #2193946, D & B # 052714196))

          v.                                 )       CRIMINAL NO. 21-CR-028 (APM)
                                             )
                                             )
:JAMES BEEKS,                                )
     Accused

                                  NOTICE OF FILING

       COMES NOW, Accused, James-Delisco:Beeks, a man, by special

appearance, presenting his own action, and requires this Court to

accept as filed these documents:

       1.      Amended Cost Schedule (redacted)

       2.      Notice of Absence of Subject Matter Jurisdiction (redacted)

       3.      Notice of Intent Affirmation (redacted)

       4.      Notice of Intent Affirmation Exhibits (redacted)

.


                                             Respectfully Submitted



                                             ____/s/_James Delisco Beeks___
                                             James-Delisco:Beeks ©


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Case 1:21-cr-00028-APM Document 866 Filed 02/07/23 Page 2 of 3




                            Sui Juris Capacity




                            Filed by: Nicole Cubbage



                            ________/s/_Nicole Cubbage________
                            Nicole Cubbage
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                            712 H. Street N.E., Unit 570
                            Washington, D.C. 20002
                            703-209-4546
                            cubbagelaw@gmail.com
                            Standby Attorney for James Beeks




                              2
       Case 1:21-cr-00028-APM Document 866 Filed 02/07/23 Page 3 of 3




                            Certificate of Service
I certify that a copy of the forgoing was filed electronically for all parties
                of record on this 7th day of February, 2023
                              ____/s/__________
                               Nicole Cubbage
                     Standby Attorney for James Beeks




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